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 District Court, Adams County, Colorado
 1100 Judicial Center Dr.
 Brighton, CO 80601                                               DATE FILED: July 9, 2021 8:48 AM
 _______________________________________________                  FILING ID: CAF7E515A401F
 Plaintiff(s): Dennis J. Atencio                                  CASE NUMBER: 2021CV30783


 v.

 Defendant(s): The Hertz Corporation

                                                                  COURT USE ONLY
 Attorney for Plaintiff:                                          Case Number:
 Matthew R. Osborne #40835
 11178 Huron Street, Suite 7
 Northglenn, CO 80234
 Phone Number: (303)759-7018
 E-mail:matt@mrosbornelawpc.com                                   Division
                                                                  Courtroom
                                           COMPLAINT


1. Plaintiff Dennis J. Atencio is a resident of Adams County, CO.

2. Defendant The Hertz Corporation is a Delaware corporation located at 8501 Williams Road,

      Estero, FL 33928.

3. On December 18, 2020, Plaintiff purchased a 2019 GMC Terrain, VIN

      3GKALVEV0KL243167 from Carvana. Plaintiff paid $300 down, and financed over

      $22,000 with Bridgecrest for the purchase of the vehicle.

4. In connection with the purchase, the vehicle was titled in Plaintiff’s name, and Bridgecrest

      perfected its lien on the title.

5. Thus, as of December 18, 2020, Plaintiff was the only owner of the vehicle.

6. Plaintiff made all payments on his loan with Bridgecrest.

7. On June 23, 2021, Plaintiff was quite surprised when a repossession company called

      “Anytime Towing” showed up to his house to repossess his vehicle.




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8. Plaintiff confronted the repossession agent, and told him there must be some mistake as he

   was current on his payments to Bridgecrest. The repossession agent then showed Plaintiff

   documents with the GMC’s VIN and his license plate number on them, and said that he was

   there to repossess the car for Hertz, not Bridgecrest. Plaintiff explained that he had no

   relationship with Hertz, but the repossession agent took the vehicle anyways.

                                    COUNT I, CIVIL THEFT

9. Plaintiff re-alleges and incorporates the allegations above as if fully set out herein.

10. Defendant obtained Plaintiff’s vehicle by theft, and had no basis whatsoever to conclude that

   their rights to the property were superior to Plaintiff’s, especially when the law, C.R.S. § 4-9-

   317, expressly states that Defendant’s rights were subordinate to Plaintiffs’ rights, and

   because Defendant did not have a perfected lien on the title.

11. At all times, Defendant intended to permanently deprive Plaintiff of the vehicle, and intended

   to sell the vehicle at an auction.

12. Defendant’s theft caused the Plaintiff actual damages, including non-economic damages,

   such as emotional distress and inconvenience, loss of the use of the vehicle, loss of the use of

   his personal belongings inside the vehicle, and the value of the property lost.

13. Plaintiff seeks actual damages, treble damages, together with attorney fees and costs against

   Defendant.

                             COUNT II, TRESPASS TO CHATTEL

14. Plaintiff re-alleges and incorporates the allegations above as if fully set out herein.

15. Defendant intentionally interfered with Plaintiff’s possession of his vehicle, by repossessing

   the vehicle without legal right, and then by refusing to return the vehicle to Plaintiff upon

   demand.




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16. Defendant’s trespass to chattel caused the Plaintiff actual damages, including non-economic

   damages such as emotional distress and inconvenience, loss of the use of the vehicle, and the

   value of the property lost.


WHEREFORE, Plaintiff prays for the following relief:

   a. Actual damages to be determined at trial;

   b. Treble damages to be determined at trial;

   c. Attorney Fees and costs if Plaintiff is the prevailing party at trial;

   d. For such other relief as may be proper.


s/ Matthew R. Osborne
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Attorney for Plaintiff

PLAINTIFF HEREBY DEMANDS TRIAL BY JURY




                                                                                   EXHIBIT A
